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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


DAVID LEFFLER,                                  )
                                Plaintiff,      )
v.                                              )       Case No.
                                                )
ANN & ROBERT H. LURIE                           )
CHILDREN’S HOSPITAL OF                          )       Jury Trial Demanded
CHICAGO,                                        )
                    Defendant.                  )


                                             COMPLAINT



        Plaintiff, David Leffler (“Leffler”), by his attorneys, Marc P. Trent of Trent Law Firm,

P.C. hereby complain against Defendant Ann & Robert H. Lurie Children’s Hospital of Chicago

(“Hospital”) as follows:

                                   NATURE OF THE ACTION

        1.      This is an action for declaratory and injunctive relief and for damages against the

defendant to enforce the Plaintiff’s rights to be free from race discrimination, discrimination on

the basis of sexual orientation, retaliation, and to be free from subjugation to a hostile work

environment as secured by Title VII of the Civil Rights Act of 1964, as amended (42 U.S.C. §

2000e et seq.) (“Title VII”).

                                              PARTIES

        2.      Plaintiff Leffler is an adult, heterosexual, Caucasian male, approximately 46 years

of age, and was at all times relevant a resident of the territorial jurisdiction of this District Court.
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        3.        Defendant Hospital is a non-profit corporation licensed to do business in the State

of Illinois. At all times relevant, Hospital did business within the territorial jurisdiction of the

District Court.

        4.        On or about January 18, 2018, Leffler began employment with the Hospital as a

Maintenance Engineer, Level II.

                                   JURISDICTION AND VENUE

        5.        Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343, as

the district courts have original jurisdiction of all civil actions arising under the Constitution,

laws, or treaties of the United States.

        6.        Jurisdiction is also invoked pursuant to the anti-retaliation provisions of Title VII

of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e-3(a); 2000e—5(g)(1).

        7.        Venue is proper under 28 U.S.C. § 1391 (b)(1) and (d) because the Defendant

Hospital has a principal place of business in this judicial district and all of the acts and

occurrence that give rise to this lawsuit took place in this judicial district.

        8.        All jurisdictional prerequisites to a lawsuit under Title VII as well as the

retaliation provision under said statute have been met, to wit:

        a.        On October 19, 2021, Leffler filed a charge of discrimination under Title VII and

the ADEA which was perfected by the Illinois Department of Human Rights (“Department”) and

by a work sharing agreement between the Department and the Equal Employment Opportunity

Commission (“EEOC”) was cross-filed and perfected at both agencies;

        b.        The charge was filed at the Department as of October 19, 2021 (see Exh. A);
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       c.      The charge was perfected and stamped “received” by the IDHR and thus was

perfected at both the IDHR and the EEOC on October 19, 2021 (see Exh. A);

       d.      The charge was assigned EEOC Charge No. 440-2021-05694 (see Exh. A);

       e.      The charge pursuant to the work-sharing agreement between agencies was filed

within 300 days of the date of the last act of discrimination, retaliation and harassment, which

was and were on-going through the date Leffler was terminated;

       f.      Leffler received a Right-to-Sue letter from the EEOC dated October 26, 2021 (see

Exh. B);

       g.      This lawsuit is being filed within 90 days of the date of receipt of the Right-to-

Sue letter (see Exh. B);

                                        BACKGROUND

       9.      Plaintiff complains of continuous discrimination on the basis of race and sexual

orientation that he experienced, and retaliation that he experienced, after he repeatedly

complained beginning on or about April 2020 and continuing to March 2021.

       10.     That on or about January 18, 2018, Hospital hired Leffler to work as a

Maintenance Engineer. Other similarly situated employees were non-Caucasian and/or of a

sexual orientation other than heterosexual.

       11.     That during the course of Leffler’s employment with Hospital, JASON

FULLERTON (“Fullerton”), worked alongside Leffler at Hospital.

       12.     Upon information and belief, Fullerton is a homosexual male.
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       13.     That in July 2019, Leffler displayed a United States flag conformant with the Flag

Act of 1777, commonly referred to as a “Betsy Ross Flag”, in his cubicle.

       14.     That in July 2019, Leffler was ordered to remove his flag, along with several

patriotic decals, after an alleged call to the “compliance hotline” reported Leffler’s workspace as

“offensive” and describing the United States flag as “associated with slavery.”

       15.     That on or around April 14, 2020, Leffler was engaged in a conversation

regarding musical interests with another coworker when he was confronted by Fullerton, who

then and there stated, without provocation “How did you know I was singing that on the way to

work?” and continued in song “David Leffler lick my balls, David Leffler is a ball licker.”

       16.     That on or around the week of April 21, 2020, Leffler was working with

dumbbells during his lunch break when he was approached by Fullerton, who demanded that

Leffler explain “why he always has to be moving around” and “why he can’t just sit still?”

       17.     That on or around April 28, 2020, Leffler arrived to work at Hospital and engaged

in separate conversations with two (2) coworkers, Jacob and Sean.

       18.     Leffler first spoke with Jacob about the topical COVID-19 pandemic, the

Presidential administration’s response to the pandemic, and the coverage of said response by

various popular news media outlets.

       19.     During the course of said conversation, Leffler observed Fullerton eavesdropping.

       20.     Leffler then was approached by Sean, who wished to speak with him about

Christianity. The two spoke of various Christian topics, including the book of Revelation.

       21.     During the course of said conversation, Leffler observed Fullerton eavesdropping.
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       22.     Following the conclusion of Leffler’s conversation with Sean, Leffler returned to

his desk and took his seat.

       23.     Immediately following Leffler’s return, he was approached by Fullerton.

       24.     Fullerton then stated to Leffler, without provocation, “Don’t think that people like

you here, everyone talks about you behind your back,” and “You’ve been here two years, you’re

no longer welcome, your time is up.”

       25.     Fullerton continued by berating Leffler for being “unreliable” and accused him of

abusing narcotics.

       26.     On or about April 2020, Leffler engaged in conversation with a coworker,

DARIEN BURTON (“Burton”) regarding a firearm Burton had recently purchased and Leffler

had also previously owned.

       27.     During said conversation, Leffler also mentioned his recent purchase of a

bulletproof vest to Burton in the natural flow of their firearms-related conversation.

       28.     While in the course of conversation, Burton and Leffler were interrupted by

Fullerton, who had overheard their conversation.

       29.     Fullerton proceeded to interject into the conversation and accuse Leffler of

“having a list” of people Leffler wished to kill, and aggressively interrogating Leffler as to “why

anyone would need a bulletproof vest.”

       30.     Immediately following this event, an anonymous “hotline report” was allegedly

made complaining that Leffler spoke “aggressively” of firearms to another employee; that
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Leffler was compiling a “kill list” and that the caller believed he was on it; and that Leffler was

abusing narcotics.

       31.     Following this report, Leffler was interviewed by TODD LARSON (“Larson”)

regarding the allegations made.

       32.     During this conversation, Larson explained that he “understood” Leffler’s

position, and that he believed action was being taken against him because of the current political

climate.

       33.     During the Summer of 2020, a series of civil disturbances involving violence,

looting, and damage to property occurred in Chicago and surrounding metropolitan areas

stemming from protests organized by “Black Lives Matter” (“BLM”).

       34.     Upon information and belief, Larson referred to these events and their preceding

incidents when describing the “current political climate.”

       35.     Throughout the Summer of 2020, employees of Hospital were required to

complete a “check-in” procedure including temperature-taking and hand sanitizing to combat the

spread of COVID-19.

       36.     Hospital maintained a particular area with a table for employees to complete their

check-in procedures.

       37.     In the area designated for checking in, Hospital displayed a rainbow LGBT Pride

Flag, and a basket of BLM buttons tfor employees to take and wear at their discretion.

       38.     Throughout the Summer of 2020, other employees were permitted to pass out

BLM stickers with the phrase “Black Lives Matter.”
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        39.     Leffler dismissed allegations that he had a “hit list” as ridiculous, and explained

that he and Burton were simply discussing their shared interest in firearms.

        40.     Leffler continued to explain that he had been continually harassed by employees

who supported the “Black Lives Matter movement,” referring to him as a “racist,” a “militia

member,” and a “white supremacist,” among others.

        41.     Leffler continued to complain to Larson that he was being harassed by Fullerton

and subjected to inappropriate sexually-charged insults and comments.

        42.     The interview concluded with no formal action taken, and Leffler was permitted

to continue working without incident.

        43.     On or around January 2021, Leffler was laterally transferred to an office in

Lincoln Park to perform duties as a Maintenance Engineer.

        44.     On or around February 4, 2021, Leffler had on display in his private office two

(2) decals representing his political affiliations.

        45.     On or around February 4, 2021, Leffler was ordered by PHIL ROMINSKI

(“Rominski”) to remove said decals because he believed them to be “associated with militia

groups and white supremacy” and labeled them “offensive.”

        46.     On February 5, 2021, Leffler replaced his decals representing particular political

groups with more generalized patriotic images, including the 1775 Gadsden flag with the words

“Don’t Tread on Me” inscribed, and a patch which recited the language of the 2nd Amendment

and carried the tagline “The Original Homeland Security.”
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       47.     On February 18, 2021, Leffler was interviewed by Human Resources, Security

and Corporate Compliance regarding the above-referenced allegations.

       48.     During said conversation, Leffler explained that he removed the decals as

demanded by Rominski and replaced them with more general patriotic stickers.

       49.     Leffler was told by Hospital that he could not display images of the 1775 Gadsden

flag or images that contained the verbatim language of U.S. Const. Amend. II, as they were

considered “offensive.”

       50.     On March 4, 2021, Leffler received a Letter of Termination from Hospital, which

outlined his termination of employment (see Exh. C).

       51.     Said letter alleges that “an employee also reported that [Leffler] states that

individuals who identify as LGBTQ should not be permitted to serve in the military” but fails to

identify when, how, or to whom this alleged conduct took place.

       52.     During the course of Leffler’s employment, Leffler received no disciplinary

actions preceding his termination.

       53.     During the course of Leffler’s employment, he received several written and verbal

commendations from doctors and other Hospital staffing for his outstanding performance.

       54.     During the course of Leffler’s employment, he performed all duties of his job

description satisfactorily and to the standards and demands of Hospital.

       55.     That on March 4, 2021, Leffler’s employment as a Maintenance Engineer with

Hospital was terminated without legitimate cause or reason.
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           56.    Leffler’s termination was pretextual and in retaliation for Leffler’s opposition to

Hospital’s actions described above.



                                            COUNT I
                                   TITLE VII Race Discrimination


           57.    Plaintiff restates and realleges paragraphs 1 - 56 as if specifically set forth herein.

           58.    42 U.S.C. § 2000e-2(a) makes it unlawful for an employer to discriminate against

an employee on the basis of race.

           59.    Defendant violated 42 U.S.C. § 2000e-2(a) by treating Leffler differently than

similarly situated African-American employees because of his race.

           WHEREFORE, Plaintiff respectfully requests that this Court:

           A.     Find that Hospital discriminated against Leffler, in violation of Title VII of the

Civil Rights Act of 1964;

           B.     Award compensatory and punitive damages to the maximum amount provided by

statute;

           C.     Award all back pay lost since the date of terminated plus pre-judgment interest;

           D.     Award attorney’s fees, expert witness fees, and costs as provided by law;

           E.     Award forward pay due to decrease in earnings;

           F.     Retain jurisdiction over this action to assure full compliance with the order of this

Court and with applicable law; and

           G.     Grant such additional relief as this Court deems just and proper.
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                                            COUNT II
                    Title VII Race Discrimination – Hostile Work Environment


           60.    Plaintiff restates and realleges paragraphs 1 - 59 as if specifically set forth herein.

           61.    42 U.S.C. § 2000e-2(a) makes it unlawful for an employer to discriminate against

an employee on the basis of race and affords employees the right to work in an environment free

from discriminatory intimidation, ridicule, and insult.

           62.    Leffler belongs to a protected group.

           63.    Leffler was repeatedly subjected to unwanted harassment based on his race as set

forth above.

           64.    Hospital knew and/or should have known of the harassment and failed to take

prompt remedial action.

           65.    At all times hereto, Leffler acted reasonably under the circumstances.

           66.    Hospital is liable for the racial harassment due to a hostile work environment

inflicted upon Leffler due to Hospital’s violation of Title VII of the Civil Rights Act of 1964 as

set forth above.

           WHEREFORE, Plaintiff respectfully requests that this Court:

           A.     Find that Hospital discriminated against Leffler, in violation of Title VII of the

Civil Rights Act of 1964;

           B.     Award compensatory and punitive damages to the maximum amount provided by

statute;

           C.     Award all back pay lost since the date of termination plus pre-judgment interest;
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           D.     Award attorney’s fees, expert witness fees, and costs as provided by law;

           E.     Award forward pay due to decrease in earnings;

           F.     Retain jurisdiction over this action to assure full compliance with the order of this

Court and with applicable law; and

           G.     Grant such additional relief as this Court deems just and proper.

                                           COUNT III
                                    TITLE VII Sexual Orientation
           67.    Plaintiff restates and realleges paragraphs 1-66 as if specifically set forth herein.

           68.    42 U.S.C. § 2000e-2(a) makes it unlawful for an employer to discriminate against

an employee on the basis of sexual orientation.

           69.    Defendant violated 42 U.S.C. § 2000e-2(a) by treating Leffler differently than

similarly-situated homosexual employees because of his sexual orientation.

           WHEREFORE, Plaintiff respectfully requests that this Court:

           A.     Find that Hospital discriminated against Leffler, in violation of Title VII of the

Civil Rights Act of 1964;

           B.     Award compensatory and punitive damages to the maximum amount provided by

statute;

           C.     Award all back pay lost since the date of termination plus pre-judgment interest;

           D.     Award attorney’s fees, expert witness fees, and costs as provided by law;

           E.     Award forward pay due to decrease in earnings;
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       F.      Retain jurisdiction over this action to assure full compliance with the order of this

Court and with applicable law; and

       G.      Grant such additional relief as this Court deems just and proper.

                                         COUNT IV
                  Title VII Sexual Orientation – Hostile Work Environment


       70.     Plaintiff restates and realleges paragraphs 1 - 69 as if specifically set forth herein.

       71.     42 U.S.C. § 2000e-2(a) makes it unlawful for an employer to discriminate against

an employee on the basis of sex and affords employees the right to work in an environment free

from discriminatory intimidation, ridicule, and insult.

       72.     Leffler belongs to a protected group.

       73.     Leffler was repeatedly subjected to unwanted discrimination and harassment

based on his sexual orientation as set forth above.

       74.     Hospital knew and/or should have known of the discrimination and failed to take

prompt remedial action.

       75.     At all times hereto, Leffler acted reasonably under the circumstances.

       76.     Hospital is liable for discrimination on the basis of sexual orientation due to a

hostile work environment inflicted upon Leffler due to Hospital’s violation of Title VII of the

Civil Rights Act of 1964 as set forth above.

       WHEREFORE, Plaintiff respectfully requests that this Court:

       A.      Find that Hospital discriminated against Leffler, in violation of Title VII of the

Civil Rights Act of 1964;
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           B.     Award compensatory and punitive damages to the maximum amount provided by

statute;

           C.     Award all back pay lost since the date of termination plus pre-judgment interest;

           D.     Award attorney’s fees, expert witness fees, and costs as provided by law;

           E.     Award forward pay due to decrease in earnings;

           F.     Retain jurisdiction over this action to assure full compliance with the order of this

Court and with applicable law; and

           G.     Grant such additional relief as this Court deems just and proper.

                                             COUNT V
                                         TITLE VII Retaliation

           77.    Plaintiff restates and realleges paragraphs 1 - 76 as if specifically set forth herein..

           78.    42 U.S.C. § 2000e-3(a) makes it unlawful for an employer to discriminate against

an employee because he opposes any practice which is unlawful under Title VII.

           79.    Leffler’s opposition to Hospital’s actions described above, is protected under 42

U.S.C. § 2000e-3(a).

           80.    Hospital terminated Leffler’s employment in retaliation for his protected conduct.

           WHEREFORE, Plaintiff respectfully requests that the Court:

           A.     Find that Defendant discriminated against Plaintiff, in violation of Title VII of the

                  Civil Rights Act of 1964;

           B.     Award compensatory and punitive damages to the maximum amount provided by

statute;

           C.     Award all back pay lost since the date of termination plus pre-judgment interest;

           D.     Award attorney’s fees, expert witness fees, and costs as provided by law;
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       E.     Award forward pay due to decrease in lower earnings;

       F.     Retain jurisdiction over this action to assure full compliance with the order of this

Court and with applicable law; and

       G.     Grant such additional relief as this Court deems just and proper.



                       PLAINTIFF DEMANDS A TRIAL BY JURY




                                                                          Respectfully submitted,


                                                                     _______________________
                                                                                  Marc P. Trent
                                                                        An Attorney for Plaintiff


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